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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

COTY CASTELLANOS, Case No.:
Plaintiff, Complaint For:
Vs. (1) Violation of § 14 (a) of the Securities
DEL TACO RESTAURANTS, INC., (2) Violation Or . 2010) of the Securities
LAWRENCE F. LEVY, EILEEN Exchange Act of 1934

APTMAN, JOHN D. CAPPASOLA, JR.,
ARI B. LEVY, R.J. MELMAN, JOSEPH
STEIN, and VALERIE L. INSIGNARES. JURY TRIAL DEMANDED

 

 

Defendants.

Plaintiff, Coty Castellanos (“Plaintiff’), by and through his attorneys, alleges upon
information and belief, except for those allegations that pertain to him, which are alleged upon
personal knowledge, as follows:

SUMMARY OF THE ACTION

1. Plaintiff brings this stockholder action against Del Taco Restaurants, Inc. (“Del
Taco” or the “Company”’) and the Company’s Board of Directors (the “Board” or the “Individual
Defendants,”, collectively with the Company, the “Defendants”), for violations of Sections 14(a)
and 20(a) of the Securities and Exchange Act of 1934 (the “Exchange Act”) as a result of
Defendants’ efforts to sell the Company to Jack in the Box Inc. (“Parent”) through merger vehicle

Epic Merger Sub, Inc. (“Merger Sub”) (collectively with “Parent”, “Jack in the Box”) as a result

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of an unfair process, and to enjoin an upcoming stockholder vote on a proposed all cash transaction
valued at approximately $575 million (the “Proposed Transaction”).

Pa The terms of the Proposed Transaction were memorialized in a December 7, 2021,
filing with the Securities and Exchange Commission (“SEC”) on Form 8-K attaching the definitive
Agreement and Plan of Merger (the “Merger Agreement”). Under the terms of the Merger
Agreement, Jack in the Box will acquire all of the remaining outstanding shares of Del Taco’s
common stock at a price of $12.51 per share in cash. As a result, Del Taco will become an indirect
wholly-owned subsidiary of Jack in the Box.

3. Thereafter, on January 4, 2022, Del Taco filed a Preliminary Proxy Statement on
Schedule PREM14A (the “Preliminary Proxy Statement”) with the SEC in support of the Proposed
Transaction.

4, The Proposed Transaction is unfair for a number of reasons. Significantly, the
Preliminary Proxy Statement indicates that no independent committee composed of disinterested
Directors was created to run the sales process.

St Additionally, it appears as though the Board has entered into the Proposed
Transaction to procure for themselves and senior management of the Company significant and
immediate benefits. For instance, pursuant to the terms of the Merger Agreement, upon the
consummation of the Proposed Transaction, Company Board Members and executive officers will
be able to exchange all Company equity awards for the merger consideration.

6. In violation of the Exchange Act, Defendants caused to be filed the materially
deficient Preliminary Proxy Statement on January 4, 2022 with the SEC in an effort to solicit
Plaintiff to vote his Del Taco shares in favor of the Proposed Transaction. The Preliminary Proxy
Statement is materially deficient, deprives Plaintiff of the information necessary to make an
intelligent, informed and rational decision of whether to vote in favor of the Proposed Transaction,
and is thus in violation of the Exchange Act. As detailed below, the Preliminary Proxy Statement
omits and/or misrepresents material information concerning, among other things: (a) the sales

process and in particular certain conflicts of interest for management; (b) the financial projections

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for Del Taco, provided by the Company to the Company’s financial advisor Piper Sandler & Co.
(“Piper Sandler”); and (c) the data and inputs underlying the financial valuation analyses, if any,
that purport to support the fairness opinion created by Piper Sandler and provided to the Board.
7. Accordingly, this action seeks to enjoin the Proposed Transaction.
8. Absent judicial intervention, the Proposed Transaction will be consummated,

resulting in irreparable injury to Plaintiff. This action seeks to enjoin the Proposed Transaction.

PARTIES
9. Plaintiff is a citizen of Nevada and, at all times relevant hereto, has been a Del Taco
stockholder.
10. Defendant Del Taco is the nation’s second largest Mexican Quick Service

restaurant chain by number of restaurants. Del Taco is incorporated under the laws of the State of
Delaware and has its principal place of business at 25521 Commercentre Drive, Lake Forest,
California 92630. Shares of Del Taco common stock are traded on the Nasdaq Exchange under
the symbol “TACO.”

11. Defendant Lawrence F. Levy (“L. Levy”) has been a Director of the Company at
all relevant times. In addition, L. Levy serves as the Chairman of the Company’s Board of
Directors.

12. Defendant John D. Cappasola, Jr. (““Cappasola”) has been a director of the
Company at all relevant times and has been serving as President and Chief Executive Officer
(“CEO”) since July 2017.

13. Defendant Eileen Aptman (“Aptman”) has been a director of the Company at all
relevant times.

14. Defendant Ari B. Levy (A. Levy”) has been a director of the Company at all
relevant times.

15. Defendant R.J. Melman (“Melman”) has been a director of the Company at all

relevant times.

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16. Defendant Joseph Stein (“Stein”) has been a director of the Company at all relevant
times.

17. Defendant Valerie L. Insignares (“Insignares’”) has been a director of the Company
at all relevant times.

18. Defendants identified in {J 11 - 17 are collectively referred to as the “Individual
Defendants.”

19. | Non-Party Jack in the Box is a major quick service food restaurant chain with
locations throughout the United States and its shares are traded on the Nasdaq Stock Exchange

under the symbol “JACK.”

 

 

20. | Non-Party Merger Sub is a wholly owned subsidiary of Parent created to effectuate

the Proposed Transaction.
JURISDICTION AND VENUE

21. This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange
Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges
violations of Sections 14(a) and 20(a) of the Exchange Act. This action is not a collusive one to
confer jurisdiction on a court of the United States, which it would not otherwise have. The Court
has supplemental jurisdiction over any claims arising under state law pursuant to 28 U.S.C. § 1367.

22. Personal jurisdiction exists over each defendant either because the defendant
conducts business in or maintains operations in this District or is an individual who is either present
in this District for jurisdictional purposes or has sufficient minimum contacts with this District as
to render the exercise of jurisdiction over defendant by this Court permissible under traditional
notions of fair play and substantial justice.

23. Venue is proper in this District pursuant to 28 U.S.C. § 1391, because Del Taco
maintains its principal offices in this district, and each of the Individual Defendants, as Company

officers or directors, has extensive contacts within this District.

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SUBSTANTIVE ALLEGATIONS

 

Company Background

24. Del Taco Restaurants, Inc. develops, franchises, owns, and operates Del Taco
quick-service Mexican-American restaurants in the United States. The Company's restaurants
offer Mexican inspired and American classic dishes. As of August 31, 2021, it operated
approximately 600 restaurants across 16 states. The Company was founded in 1964 and is
headquartered in Lake Forest, California.

25. The Company’s most recent financial performance press release, revealing
financial results from the quarter preceding the announcement of the Proposed Transaction,
indicated sustained and solid financial performance. For example, in the October 14, 2021 press
release announcing its 2021 Q3 financial results, the Company highlighted such milestones as
Total revenue of $124.3 million, representing 2.9% growth from the fiscal third quarter 2020 and
company-operated restaurant sales of $112.0 million, representing 2.2% growth from the fiscal
third quarter 2020.

26. Speaking on these positive results, CEO Defendant Cappasola commented on the
Company’s positive financial results as follows, “‘We have made significant progress in signing
new franchise development agreements, having signed a total of seven so far this year, including
four since July, for a total of 53 new future Del Taco restaurant commitments across six states
from coast to coast. Accelerating franchise development with experienced operators looking to
diversify their portfolios through our unique QSR+ positioning is a critical part of our growth and
these new agreements further support our stated goal of 5% system-wide new unit growth led by
franchising beginning in 2023.’”

27. These positive results are not an anomaly, but rather, are indicative of a trend of
continued financial success and future potential success by Del Taco. Clearly, based upon these

positive financial results and outlook, the Company is likely to have tremendous future success.

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28. Despite this upward trajectory and continually increasing financial results, the
Individual Defendants have caused Del Taco to enter into the Proposed Transaction without
providing requisite information to Del Taco stockholders such as Plaintiff.

The Flawed Sales Process

29. As detailed in the Preliminary Proxy Statement, the process deployed by the
Individual Defendants was flawed and inadequate, was conducted out of the self-interest of the
Individual Defendants and was designed with only one concern in mind — to effectuate a sale of
the Company by any means possible.

30. Notably, the Preliminary Proxy Statement fails to indicate if an independent
committee composed of disinterested Directors was created to run the sales process. If such a
committee was not created the Preliminary Proxy Statement should provide the Board’s reasoning
for such decision. Conversely, if such a committee did exist the Preliminary Proxy Statement
should provide adequate information regarding the purview, powers, and membership of that
committee.

31. In addition, the Preliminary Proxy Statement is silent as to the nature of the
confidentiality agreement entered into between the Company and Jack in the Box, whether this
agreement differed from any other agreement with potentially interested third parties discussed
and/or not specifically mentioned by the Preliminary Proxy Statement, if so in all specific manners,
including all specific terms of any such included “don’t-ask, don’t-waive” provisions or standstill
provisions contained therein, including, all specific conditions, if any, under which such provisions
would fall away.

32. It is not surprising, given this background to the overall sales process, that it was

conducted in an inappropriate and misleading manner.

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The Proposed Transaction
33. On November 4, 2021, Del Taco and Jack in the Box issued a joint press release
announcing the Proposed Transaction. The press release stated, in relevant part:

SAN DIEGO & LAKE FOREST, Calif.--(BUSINESS WIRE)-- Jack in the Box
Inc. (NASDAQ: JACK), one of the nation’s leading QSR chains, and Del Taco
Restaurants, Inc. (NASDAQ: TACO), the nation’s second largest Mexican QSR
chain by number of restaurants, today announced that the companies have entered
into a definitive agreement pursuant to which Jack in the Box will acquire Del Taco
for $12.51 per share in cash in a transaction valued at approximately $575 million,
including existing debt. While this price per share offers an attractive premium to
Del Taco shareholders, Jack in the Box estimates that the transaction values Del

Taco at a synergy adjusted multiple of approximately 7.6x trailing twelve months
Adjusted EBITDA.

Founded in 1964, Del Taco serves more than three million guests each week at its
approximately 600 restaurants across 16 states. 99% of Del Taco restaurants feature
a drive-thru, helping to achieve strong off-premise sales and a diversified daypart
mix. Jack in the Box and Del Taco will have more than 2,800 restaurants spanning
25 states with similar guest profiles, menu offerings and company cultures — both
priding themselves on serving guests with unique variety, quality, innovation and
value. Together, the companies will create a stronger QSR player with greater scale
and the ability to enhance the guest experience while pursuing profitable growth.

“We are thrilled to welcome Del Taco, a beloved brand and proven regional winner,
to the Jack in the Box family,” said Darin Harris, CEO of Jack in the Box. “This is
a natural combination of two like-minded, challenger brands with outstanding
growth opportunities. Together, Jack in the Box and Del Taco will benefit from a
stronger financial model, gaining greater scale to invest in digital and technology
capabilities, and unit growth for both brands. This acquisition fits squarely in our
strategic pillars and helps us create new opportunities for the franchisees, team
members and guests of both brands.”

Mr. Harris continued, “Del Taco has a loyal, passionate guest base and a strong
operating model, and we believe that we can leverage our infrastructure, experience
refranchising, and development strategy to support Del Taco’s growth plans and
expand Del Taco’s footprint. We can’t wait to welcome the Del Taco team
members and franchisees to the Jack family!”

David Beshay, a Jack in the Box franchisee and operator of 210+ restaurants, added,
"I couldn’t be happier about the opportunity that this transaction offers to the
franchisees of these two amazing brands. I believe the Del Taco brand will fit hand
in glove with ours, and further enhance the strong franchise and guest-focused
culture we have worked so hard to develop at Jack in the Box. We are excited about

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the potential to open Del Taco restaurants, helping the company expand these two
beloved brands."

John D. Cappasola, Jr., President and CEO of Del Taco, said, “We are excited to
have found a partner in Jack in the Box that shares our vision for the future and has
the QSR expertise to further accelerate Del Taco’s growth. In recent years, we have
uniquely positioned Del Taco as a leader in the growing Mexican QSR category,
expanded our digital capabilities to enhance consumer convenience and focused on
growing the brand through franchising, resulting in eight consecutive years of
franchise same store sales growth and an accelerating new unit pipeline.”

Mr. Cappasola, Jr. continued, “We expect this transaction will provide Del Taco
with the scale, complementary capabilities and opportunity to become even
stronger partners to our franchisees and support their ability to drive substantial
growth in our core and emerging markets. On behalf of Del Taco Restaurants, Inc.
Board of Directors, we’re confident the agreement delivers immediate value to Del
Taco shareholders and will greatly benefit our brand, team members, franchisees
and loyal guests for many years to come.”

Brent Veach, a Del Taco franchisee and operator of 50+ restaurants, shared, “Del
Taco and Jack in the Box are two iconic brands that both represent a tremendous
business opportunity for existing and new franchisees. I am excited how this new
larger organization can provide operating cost synergies and further accelerate
franchise growth through enhanced support, additional resources and shared real
estate knowledge. We are excited to join the Jack in the Box family and assist in
growing both amazing brands.”

Compelling Strategic and Financial Benefits
The transaction is expected to:

Deliver Immediate Earnings Accretion with Significant Upside. Jack in the Box
expects the transaction to be mid-single-digit accretive to earnings per share
excluding transaction expenses in year one and meaningfully accretive beginning
in year two once full synergizes are realized.

Create a Stronger QSR Player with Enhanced Scale. This transaction combines two
challenger brands with complementary geographic footprints, guest profiles and
menu offerings to create a scaled QSR player with a stronger financial model to
drive growth and enhanced profitability. Jack in the Box and Del Taco will also
benefit from sharing best practices and the opportunity to strengthen guest loyalty
and reach new guests. As a combined QSR player, Jack in the Box and Del Taco
plan to expand their footprint and continue to drive innovation at both brands to
create more unique, innovative menus and exceptional guest experiences.

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True QSR in the Expanding Mexican Category with a Track Record of Consistent
Growth. The transaction allows Jack in the Box to tap into the growing and
attractive Mexican QSR category, where Del Taco has been a leading brand with a
track record of consistent performance. By leveraging the combined scale of the
companies, we will be able to effectively target secular demographic trends
underpinning the category.

Reinforce Unit Growth Plans for Both Brands. By leveraging Jack in the Box and
Del Taco’s unique strengths and their shared approach to building out markets, Jack
in the Box will be able to support growth plans for both brands. Jack in the Box
will benefit from Del Taco’s strong operations, construction, and development
expertise to drive more efficient expansion supporting its long-term objective of
4% annual unit growth by 2025. By leveraging Jack in the Box’s broader footprint,
re-franchising experience, and digital capabilities, the combined company expects
to drive energized growth at both brands in existing and new markets.

Create Substantial Opportunities for Franchisee Expansion and Unit Level
Economics. The transaction brings together two exceptional franchisee bases and
creates an enhanced platform for franchisee expansion and growth by leveraging
the combined company’s scale, technology and digital capabilities. Both brands’
franchisees will benefit from economies of scale in supply chain and more diverse
opportunities to expand their businesses and drive enhanced profitability. The
transaction will enable both brands to provide stronger support to franchisees with
a broader set of resources to help them optimize and grow their businesses.

Build a Stronger, More Flexible Financial Model. The transaction will create a
stronger combined organization, with increased size and scale, and the financial
resources to pursue a wider set of opportunities for profitable growth. Jack in the
Box expects that the combined organization will also benefit from a more efficient
capital structure. Jack in the Box expects to maintain a leverage ratio within its
target range of 4.0x to 5.5x total debt to Adjusted EBITDA and an investment grade
credit rating.

Drive Meaningful Synergies. Jack in the Box expects the combined company to
realize run-rate strategic and cost synergies of approximately $15 million by the
end of fiscal year 2023, with approximately half of the synergies achieved in the
first year. Jack in the Box expects to achieve these synergies largely through
procurement and supply chain savings, technology and digital efficiencies and
other financial benefits, as well as knowledge-sharing initiatives.

Financing and Path to Completion
Jack in the Box intends to finance the acquisition through the issuance of additional

securitization notes from its existing program with a financing commitment
provided by BofA Securities, Inc.

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The transaction is expected to close in the first calendar quarter of 2022 and is
subject to customary closing conditions, including receipt of Del Taco shareholder
approval and regulatory approvals.

Potential Conflicts of Interest

34. The breakdown of the benefits of the deal indicates that Del Taco insiders are the
primary beneficiaries of the Proposed Transaction, not the Company’s public stockholders such as
Plaintiff. The Board and the Company’s executive officers are conflicted because they will have
secured unique benefits for themselves from the Proposed Transaction not available to Plaintiff as
a public stockholder of Del Taco.

35. Notably, Company insiders, currently own large, illiquid portions of Company
stock, all of which will be exchanged for the merger consideration upon the consummation of the
Proposed Transaction. However, despite providing the following information, the Preliminary
Proxy Statement fails to provide an accounting of how much cash consideration these holdings

will amount to for the Company Insiders, including the Individual Defendants.

 

Percentage
Shares of Common
Name and Address of Beneficial Owner Beneficially Owned Stock Owned
Dimensional Fund Advisors L.P.@ 2,426,892 6.6%
Belfer Investment Partners L.P. 3,535,099 9.6%
BlackRock Inc. 2,060,580 5.6%
Versor Investments LP 1,839,552 5.1%
The Vanguard Group 1,870,697 5.1%
Ari B. Levy® 2,047,855 5.6%
Chad Gretzema® 175,851 0.5%
Eileen Aptman® 1,366,508 3.7%
John D. Cappasola, Jr. 562,091 1.5%
Joseph Stein’ 41,823 0.1%
Karen Luey"') 6,484 wi
Lawrence F, Levy 1,473,835 4.0%
R.J. Melman 72,039 0.2%
Steven L. Brake 348,989 0.9%
Valerie L. Insignares‘'® 12,389
All directors and executive officers as a group (10 persons) 5,022,195 13.6%
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36. Additionally, upon the consummation of the Proposed Transaction, all company
options, restricted stock units, and other equity awards, will be exchange exchanged for the merger
consideration. This will result in disparate consideration being paid to Company insiders
compared to Plaintiff and other public Company stockholders. Despite this, the Preliminary Proxy
Statement fails to provide an accounting of these holdings or of the consideration that will be paid
out in exchange for them upon the consummation of the Proposed Transaction.

37. In addition, certain employment agreements with certain Del Taco executives,
entitle such executives to severance packages should their employment be terminated under certain
circumstances. These ‘golden parachute’ packages are significant, and will grant each director or
officer entitled to them millions of dollars, compensation not shared by Plaintiff and will be paid

out as follows:

 

Perquisites/
Name Cash($) Equity($)” Benefits($)® Total($)
John D. Cappasola, Jr. 677,813 3,665,425 20,797 4,364,035
Steven L. Brake 424,657 1,385,575 20,797 1,831,029
Chad Gretzema 353,188 1,254,854 15,005 1,623,047
38. The Preliminary Proxy Statement also fails to adequately disclose communications

regarding post-transaction employment during the negotiation of the underlying transaction must
be disclosed to stockholders. Communications regarding post-transaction employment during the
negotiation of the underlying transaction must be disclosed to stockholders. This information is
necessary for Plaintiff to understand potential conflicts of interest of management and the Board,
as that information provides illumination concerning motivations that would prevent fiduciaries
from acting solely in the best interests of the Company’s stockholders.

39. Thus, while the Proposed Transaction is not in the best interests of Del Taco,
Plaintiff or Company stockholders, it will produce lucrative benefits for the Company’s officers

and directors.

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The Materially Misleading and/or Incomplete Preliminary Proxy Statement

40. On January 4, 2022, the Del Taco Board caused to be filed with the SEC a
materially misleading and incomplete Preliminary Proxy Statement that, in violation the Exchange
Act, failed to provide Plaintiff in his capacity as a Company stockholder with material information
and/or provides materially misleading information critical to the total mix of information available
to Plaintiff concerning the financial and procedural fairness of the Proposed Transaction.

Omissions and/or Material Misrepresentations Concerning the Sales Process leading up

to the Proposed Transaction

41. Specifically, the Preliminary Proxy Statement fails to disclose material information
concerning the process conducted by the Company and the events leading up to the Proposed

Transaction. In particular, the Preliminary Proxy Statement fails to disclose:

a. Adequate information regarding if an independent committee of disinterested
Directors was created to run the sales process, including;

i. Ifno special committee was created, adequate information regarding the
reasoning underlying that decision;

ii. Ifa special committee was created, adequate information regarding its
purview, membership, and powers;

b. Whether the confidentiality agreements entered into by the Company with Jack
in the Box differed from any other unnamed confidentiality agreement entered
into between the Company and potentially interested third parties (if any), and
if so, in all specific manners;

c. All specific conditions under which any standstill provision contained in any
entered confidentiality agreement entered into between the Company and
potentially interested third parties throughout the sales process, including Jack

in the Box, would fall away; and

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d. Communications regarding post-transaction employment during the
negotiation of the underlying transaction must be disclosed to stockholders.
Communications regarding post-transaction employment during — the
negotiation of the underlying transaction must be disclosed to stockholders.
This information is necessary for stockholders to understand potential conflicts
of interest of management and the Board, as that information provides
illumination concerning motivations that would prevent fiduciaries from acting
solely in the best interests of Plaintiff and Company stockholders.

Omissions and/or Material Misrepresentations Concerning Del Taco’s Financial

Projections

42. The Preliminary Proxy Statement fails to provide material information concerning
financial projections for Del Taco provided by Del taco management and relied upon by Piper
Sandler in its analyses. The Preliminary Proxy Statement discloses management-prepared
financial projections for the Company which are materially misleading.

43. Notably the Preliminary Proxy Statement reveals that as part of its analyses, Piper
Sandler reviewed, “Reviewed and analyzed certain information furnished to Piper by Company
management relating to the business, earnings, cash flow, assets, liabilities and prospects of the
Company, including the Company Projections provided by Company management.”

44, Therefore, the Preliminary Proxy Statement should have, but fails to provide,
certain information in the projections that Del Taco management provided to the Board and Piper
Sandler. Courts have uniformly stated that “projections ... are probably among the most highly-
prized disclosures by investors. Investors can come up with their own estimates of discount rates
or [] market multiples. What they cannot hope to do is replicate management’s inside view of the
company’s prospects.” Jn re Netsmart Techs., Inc. S’holders Litig., 924 A.2d 171, 201-203 (Del.
Ch. 2007).

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45. With regard to the FY 2021E to FY 2026E Company Projections set prepared by
Del Taco Management, the Preliminary Proxy Statement fails to disclose material line items for
the following metrics:

a. Adjusted Restaurant Operating Expenses, including all underlying necessary
inputs and assumptions, including specifically: food and paper costs, labor and
related expenses, occupancy and other operating expenses;

46. This information is necessary to provide Plaintiff in his capacity as a Company
stockholder a complete and accurate picture of the sales process and its fairness. Without this
information, Plaintiff is not fully informed as to Defendants’ actions, including those that may
have been taken in bad faith, and cannot fairly assess the process.

47. Without accurate projection data presented in the Preliminary Proxy Statement,
Plaintiff is unable to properly evaluate the Company’s true worth, the accuracy of Piper Sandler’s
financial analyses, or make an informed decision whether to vote in favor of the Proposed
Transaction. As such, the Board has violated the Exchange Act by failing to include such
information in the Preliminary Proxy Statement.

Omissions and/or Material Misrepresentations Concerning the Financial Analyses by

Piper Sandler

48. In the Preliminary Proxy Statement, Piper Sandler describes its fairness opinion
and the various valuation analyses performed to render such opinion. However, the descriptions
fail to include necessary underlying data, support for conclusions, or the existence of, or basis for,
underlying assumptions. Without this information, one cannot replicate the analyses, confirm the
valuations or evaluate the fairness opinions:

49. With respect to the Selected Public Companies Analysis, the Preliminary Proxy
Statement fails to disclose the following:

a. The specific metrics for each selected company analyzed;

b. The specific inputs and assumptions used to determine the following multiple

reference ranges:

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a.

b.

a.

i. Implied Multiple Reference Range of EV / CY 2022E EBITDA of 6.4x

— 12.1x;

ii. Implied Multiple Reference Range of FV / CY 2021F ERITDA of 5.3x
— 9.7x;

ili. Implied Equity Value per Share Reference Range of EV / CY 2022E
EBITDA of $6.22 — $14.00; and

iv. Implied Equity Value per Share Reference Range of EV / CY 2021E
EBITDA of $5.47 — $12.04.

50. With respect to the Selected Precedent Transactions Analysis, the Preliminary

Proxy Statement fails to disclose the following:

The specific metrics for each precedent transaction analyzed;

The date on which each precedent transaction closed;

The aggregate value of each precedent transaction;

The specific inputs and assumptions used to determine the utilized implied
multiple reference range of EV/LTM EBITDA of 5.3x — 20.9x; and

The specific inputs and assumptions used to determine the utilized implied

equity value per share reference range of EV/LTM EBITDA $4.73 - $25.97.

51. With respect to the Discounted Cash Flow Analysis, the Preliminary Proxy

Statement fails to disclose the following:

The specific utilized projected unlevered free cash flows from fiscal year 2022
to fiscal year 2026, discounted back to December 28, 2021 (the end of the
Company’s fiscal year 2021), and all underlying inputs and assumptions used
to calculate it;

The specific utilized terminal value at fiscal year 2026 based upon EBITDA
exit multiples, discounted back to December 28, 2021, and all underlying inputs

and assumptions used to calculate it;

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c. The specific inputs and assumptions used to determine the utilized 29.0% tax
rate;

d. All specific inputs and assumptions used to determine the selected range of
EBITDA exit multiples of 7.4x to 9.4x;

e. The specific inputs and assumptions used to determine the utilized discount ate
range of 9.3% to 14.3%; and

f. The Company’s weighted average cost of capital utilized.

52. These disclosures are critical for Plaintiff to be able to make an informed decision
on whether to vote in favor of the Proposed Transaction.

53. Without the omitted information identified above, Plaintiff is missing critical
information necessary to evaluate whether the proposed consideration truly maximizes his value
and serves his interest as a stockholder. Moreover, without the key financial information and
related disclosures, Plaintiff cannot gauge the reliability of the fairness opinion and the Board’s
determination that the Proposed Transaction is in his best interests as a public Del Taco
stockholder. As such, the Board has violated the Exchange Act by failing to include such
information in the Preliminary Proxy Statement.

FIRST COUNT

Violations of Section 14(a) of the Exchange Act

 

(Against All Defendants)
54. Plaintiff repeats all previous allegations as if set forth in full herein.
55. Defendants have disseminated the Preliminary Proxy Statement with the intention

of soliciting stockholders, including Plaintiff, to vote in favor of the Proposed Transaction.
56. Section 14(a) of the Exchange Act requires full and fair disclosure in connection
with the Proposed Transaction. Specifically, Section 14(a) provides that:
It shall be unlawful for any person, by the use of the mails or by any means or
instrumentality of interstate commerce or of any facility of a national securities

exchange or otherwise, in contravention of such rules and regulations as the [SEC]

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may prescribe as necessary or appropriate in the public interest or for the protection

of investors, to solicit or to permit the use of his name to solicit any proxy or consent

or authorization in respect of any security (other than an exempted security)

registered pursuant to section 78/ of this title.

57. As such, SEC Rule 14a-9, 17 C.F.R. 240.14a-9, states the following:

No solicitation subject to this regulation shall be made by means of any proxy

statement, form of proxy, notice of meeting or other communication, written or

oral, containing any statement which, at the time and in the light of the

circumstances under which it is made, is false or misleading with respect to any

material fact, or which omits to state any material fact necessary in order to make

the statements therein not false or misleading or necessary to correct any statement

in any earlier communication with respect to the solicitation of a proxy for the same

meeting or subject matter which has become false or misleading.

58. | The Preliminary Proxy Statement was prepared in violation of Section 14(a)
because it is materially misleading in numerous respects and omits material facts, including those
set forth above. Moreover, in the exercise of reasonable care, Defendants knew or should have
known that the Preliminary Proxy Statement is materially misleading and omits material facts that
are necessary to render them non-misleading.

59. The Individual Defendants had actual knowledge or should have known of the
misrepresentations and omissions of material facts set forth herein.

60. The Individual Defendants were at least negligent in filing a Preliminary Proxy
Statement that was materially misleading and/or omitted material facts necessary to make the
Preliminary Proxy Statement not misleading.

61. The misrepresentations and omissions in the Preliminary Proxy Statement are
material to Plaintiff, and Plaintiff will be deprived of his entitlement to decide whether to vote his

shares in favor of the Proposed Transaction on the basis of complete information if such

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misrepresentations and omissions are not corrected prior to the stockholder vote regarding the
Proposed Transaction.
SECOND COUNT

Violations of Section 20(a) of the Exchange Act

 

 

(Against all Individual Defendants)

62. Plaintiff repeats all previous allegations as if set forth in full herein.

63. The Individual Defendants were privy to non-public information concerning the
Company and its business and operations via access to internal corporate documents, conversations
and connections with other corporate officers and employees, attendance at management and
Board meetings and committees thereof and via reports and other information provided to them in
connection therewith. Because of their possession of such information, the Individual Defendants
knew or should have known that the Preliminary Proxy Statement was materially misleading to
Plaintiff in his capacity as a Company stockholder.

64. The Individual Defendants were involved in drafting, producing, reviewing and/or
disseminating the materially false and misleading statements complained of herein. The Individual
Defendants were aware or should have been aware that materially false and misleading statements
were being issued by the Company in the Preliminary Proxy Statement and nevertheless approved,
ratified and/or failed to correct those statements, in violation of federal securities laws. The
Individual Defendants were able to, and did, control the contents of the Preliminary Proxy
Statement. The Individual Defendants were provided with copies of, reviewed and approved,
and/or signed the Preliminary Proxy Statement before its issuance and had the ability or
opportunity to prevent its issuance or to cause it to be corrected.

65. The Individual Defendants also were able to, and did, directly or indirectly, control
the conduct of Del Taco’s business, the information contained in its filings with the SEC, and its
public statements. Because of their positions and access to material non-public information
available to them but not the public, the Individual Defendants knew or should have known that

the misrepresentations specified herein had not been properly disclosed to and were being

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concealed from Plaintiff and Company, and that the Preliminary Proxy Statement was misleading.
As a result, the Individual Defendants are responsible for the accuracy of the Preliminary Proxy
Statement and are therefore responsible and liable for the misrepresentations contained herein.
66. The Individual Defendants acted as controlling persons of Del Taco within the
meaning of Section 20(a) of the Exchange Act. By reason of their position with the Company, the

Individual Defendants had the power and authority to cause Del Taco to engage in the wrongful

 

 

 

conduct complained of herein. The Individual Defendants controlled Del Taco and all of its
employees. As alleged above, Del Taco is a primary violator of Section 14 of the Exchange Act
and SEC Rule 14a-9. By reason of their conduct, the Individual Defendants are liable pursuant to
section 20(a) of the Exchange Act.

WHEREFORE, Plaintiff demands injunctive relief, in his favor and against the Defendants,

as follows:
A. Enjoining the Proposed Transaction;
B. In the event Defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages to Plaintiff;

C. Directing the Individual Defendants to comply with the Exchange Act to
disseminate a Preliminary Proxy Statement that does not contain any untrue statements of
material fact and that states all material facts required in it or necessary to make the
statements contained therein not misleading;

D. Awarding Plaintiff the costs of this action, including reasonable allowance for
Plaintiff’s attorneys’ and experts’ fees; and

E. Granting such other and further relief as this Court may deem just and proper.

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Dated: January 10, 2022

 

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DEMAND FOR JURY TRIAL

By:

Plaintiff hereby demands a jury on all issues which can be heard by a jury.

BRODSKY & SMITH
Log

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